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16

17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION
20                                      )        Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
      META PLATFORMS, INC.,             )        PLAINTIFFS’ OPPOSITION TO
22                                      )        DEFENDANTS’ MOTION TO EXCLUDE
                      Plaintiffs,       )        OR LIMIT THE OPINIONS OF
23                                      )        PLAINTIFFS’ PROPOSED EXPERT
             v.                         )        DAVID J. YOUSSEF
24
                                        )
25    NSO GROUP TECHNOLOGIES LIMITED )             Date: April 10, 2025
      and Q CYBER TECHNOLOGIES LIMITED, )          Time: 2:00 p.m.
26                                      )          Ctrm: 3
                      Defendants.       )          Judge: Hon. Phyllis J. Hamilton
27                                      )          Action Filed: October 29, 2019
                                        )
28
                                [PUBLIC REDACTED VERSION]
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 1                                      PRELIMINARY STATEMENT
 2           NSO has failed to provide any valid basis to exclude any of the opinions of Plaintiffs’ primary
 3 technical expert, David Youssef. In its motion, NSO does not take issue with Mr. Youssef’s qualifi-

 4 cations or expertise—nor can it, given Mr. Youssef’s extensive experience in the cybersecurity field.

 5 Instead, NSO makes two arguments based largely on a misinterpretation of the Court’s order that

 6 granted Plaintiffs’ motion for summary judgment and held NSO liable for violating the Computer

 7 Fraud and Abuse Act (“CFAA”), the California Comprehensive Data Fraud Act (“CDAFA”), and

 8 breaching the WhatsApp Terms of Service.

 9           First, NSO argues that Mr. Youssef’s opinions are no longer relevant because the Court has
10 entered liability in Plaintiffs’ favor. See Dkt. No. 494 at 16. Although some of Mr. Youssef’s opin-

11 ions were solely relevant to establishing the elements of Plaintiffs’ claims, the jury must still decide

12 whether NSO acted with “oppression, fraud, or malice” to determine whether NSO’s conduct war-

13 rants awarding punitive damages to Plaintiffs and must also determine the amount of such damages.

14 The technical background of NSO’s attacks—i.e., the facts regarding NSO’s conduct that gave rise

15 to liability—is necessary to the jury’s consideration of those questions. To be sure, the extent of Mr.

16 Youssef’s testimony may be limited now that NSO has been found liable. Mr. Youssef no longer

17 needs to offer testimony going to every element of Plaintiffs’ claims or NSO’s meritless defenses.

18 But especially in light of NSO’s proposal to call 19 witnesses, Plaintiffs are entitled to show the jury

19 what NSO did, and Mr. Youssef’s testimony is therefore relevant. As such, NSO’s motion to exclude

20 Mr. Youssef’s testimony in its entirety should be rejected.

21           Second, NSO moves to exclude several of Mr. Youssef’s opinions that NSO claims are con-
22 tradicted by the evidence. But NSO’s arguments are based on a misreading of the Court’s summary

23 judgment order. In finding NSO liable, the Court rejected NSO’s arguments about the supposed

24 harmlessness of its attacks. Compare Dkt. No. 419-2 at 1–2 (arguing in opposition to Plaintiffs’

25 motion for summary judgment that

26                      with Dkt. No. 494 at 16 (holding NSO liable on all counts). In trying the question
27 of whether NSO acted with “oppression, fraud, or malice,” NSO will be free to cross-examine Mr.

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 1 Youssef on his opinions, but its professed disagreements with his opinions would go at most to the

 2 weight of Mr. Youssef’s testimony, not the admissibility of his opinions.

 3                                                BACKGROUND
 4 I.        Mr. Youssef’s Expertise and Experience
 5           Mr. Youssef
 6                                Tr. at 128:1–7. 1 He
 7                  Youssef Rep. ¶ 16.
 8

 9           Id. ¶ 16.
10           Mr. Youssef
11                                                                              Id. ¶ 14.
12

13

14                       Id. He also
15

16                          Id. During
17

18                       Id. ¶ 15; see also Tr. at 133:13–15
19

20           Mr. Youssef is                                                            Youssef Rep. ¶ 12. He
21                                                                                                        . Id. ¶
22 13.

23                        Tr. at 12:19–24.
24                                                                                                         Tr. at
25

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          Excerpts from Mr. Youssef’s deposition transcript are attached as Exhibit A to the Declaration
27        of Micah G. Block and cited herein as “Tr.” Mr. Youssef’s expert report and rebuttal report were
          previously filed under seal at Dkt. No. 512-3 and Dkt. No. 512-4 and are cited herein as “Youssef
28        Rep.” and “Youssef Rebuttal Rep.”
                                                           2
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 1 12:25–13:7. He

 2                                     Tr. at 125:1–3.
 3                        , Mr. Youssef
 4                                           Tr. at 139:20–140:5. He is also
 5                                                  Tr. at 139:22–23, 142:14–22.
 6 II.       Mr. Youssef’s Opinions
 7           Plaintiffs served NSO with Mr. Youssef’s expert report (the “Youssef Report”) on August
 8 30, 2024. In his report, Mr. Youssef provides technical opinions on:

 9       •   The exploit chain used by                              , laying out the eight-step process through
10           which the vectors hacked Plaintiffs’ servers to deliver malware, Youssef Rep. ¶¶ 41–94;
11       •   How NSO exploited WhatsApp’s infrastructure, including how NSO simulated genuine
12           WhatsApp activity to manipulate Plaintiffs’ servers and overcome technical barriers, id. ¶¶
13           95–107;
14       •   The capabilities of NSO’s malicious software, its potential impact on victims, and how it fits
15           the cybersecurity industry’s understanding of “spyware,” id. ¶¶ 108–25;
16       •   The evidence showing that NSO’s malware was designed to evade detection and counter-
17           measures by Plaintiffs, their servers, and third parties, id. ¶¶ 126–32;
18       •   Indicators that NSO reverse-engineered Plaintiffs’ software and specifically designed the
19                                   to work against Plaintiffs’ infrastructure, including NSO’s practice of
20           updating their malicious software to regain functionality when Plaintiffs’ code updates
21           blocked NSO’s unlawful activity, id. ¶¶ 133–49; and
22       •   NSO’s continued efforts to hack Plaintiffs’ servers after Plaintiffs blocked the Eden vector in
23           May 2019, and the objective facts that show why an advanced threat actor like NSO would
24           be unlikely to stop attempting to hack an attractive target like WhatsApp without a significant
25           deterrent in place, id. ¶¶ 150–55.
26

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 1           Four days after the Court granted Plaintiffs’ motion for summary judgment, NSO raised a
 2 discovery dispute via joint letter, asserting that NSO was entitled to sanctions and additional time to

 3 depose Mr. Youssef because of his “deposition misconduct.” Dkt. No. 498 at 1–4. As Plaintiffs

 4 explained in their portion of the joint letter, NSO had no basis for seeking additional deposition time

 5 from Mr. Youssef “relate[d] to issues that the Court has already adjudicated, such as whether NSO’s

 6 spyware exceeded authorized access or whether NSO reverse-engineered WhatsApp in violation of

 7 WhatsApp’s Terms of Service.” Id. at 4–5. Moreover, NSO lacked good cause to extend Mr.

 8 Youssef’s deposition. Id. at 5–7.

 9           On January 10, 2025, the Court denied NSO’s motion for additional time, ruling that there
10 was no need for NSO to further depose Mr. Youssef. Dkt. No. 519 at 3. In that decision, the Court

11 noted that NSO’s request for additional time to depose Mr. Youssef was “almost certainly moot.

12 Given that the court has already issued a ruling resolving all issues of liability, the court cannot

13 envision a circumstance in which either party will be permitted to put on testimony from their tech-

14 nical experts.” Id. at 4. At that point, Plaintiffs had not yet fully briefed the basis for an award of

15 punitive damages, and the Court left the door open for a trial beyond the parties’ damages experts:

16 “If the court ultimately determines that testimony of technical experts will be presented, the court

17 will further consider defendants’ request at that time.” Id.

18                                                 ARGUMENT
19 I.        Mr. Youssef’s Opinions Are Relevant to the Jury’s Determination of Punitive Damages
20           NSO’s primary argument for excluding Mr. Youssef’s testimony has no connection to Mr.
21 Youssef’s qualifications, expertise, or methodology, but instead stems from the Court’s decision

22 finding NSO liable on Plaintiffs’ claims. In NSO’s view, Mr. Youssef’s technical opinions have no

23 relevance to the upcoming damages-only trial. See Dkt. No. 512 at 4–7. NSO’s position reflects a

24 cramped view of relevance, and in particular disregards the factual issues that the jury must consider

25 to assess the appropriateness, and amount, of punitive damages. Mr. Youssef’s technical opinions

26 are relevant to the jury’s understanding of those factual issues. 3

27
     3
          Though Mr. Youssef’s testimony remains relevant for the upcoming damages-only trial, Plaintiffs
28        maintain that the Court’s summary judgment order moots NSO’s request for additional deposition
          testimony from Mr. Youssef. See Dkt. No. 498 at 4–7. NSO only sought additional deposition
                                                           5
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 1           Mr. Youssef’s testimony will help the jury understand the details of NSO’s unlawful conduct
 2 so it can properly assess whether NSO acted with “oppression, fraud, or malice” in violating the

 3 California Comprehensive Computer Data and Fraud Act.                  See Cal. Penal Code § 502(e)(4)
 4 (“[W]here it is proved by clear and convincing evidence that a defendant has been guilty of oppres-

 5 sion, fraud, or malice . . . the court may additionally award punitive or exemplary damages.”). This

 6 involves consideration of, among other things, whether NSO “acted with intent to cause injury,”

 7 whether NSO’s conduct was “despicable and was done with a willful and knowing disregard of the

 8 rights or safety of another,” and whether NSO’s conduct “was despicable and subjected [WhatsApp]

 9 to cruel and unjust hardship in knowing disregard of its rights.” See CACI No. 3945; see also Spinks

10 v. Equity Residential Briarwood Apartments., 90 Cal. Rptr. 453, 494 (Cal. Ct. App. 2009) (finding

11 “triable issue on the question of whether defendants acted with malice” when “a reasonable jury

12 could find that defendants acted with conscious disregard for plaintiff’s rights”).

13           The following nonexhaustive examples illustrate the relevance of Mr. Youssef’s opinions to
14 the jury’s consideration of punitive damages:

15       •   The normal operation of WhatsApp’s platform (Youssef Rep. ¶¶ 37–40.) To understand
16           NSO’s substantial effort to develop its spyware and unlawfully attack WhatsApp’s servers,
17           the WhatsApp Official Client, and the target devices, the jury must hear testimony about how
18           WhatsApp normally works, including the technological barriers built into the system. That
19           NSO understood WhatsApp’s complex architecture on an intimate level evinces NSO’s
20           “knowing, deliberate, willful and conscious disregard of [Plaintiffs’] rights.” See Craigslist,
21           Inc. v. Mesiab, 2010 WL 5300883, at *14 (N.D. Cal. Nov. 15, 2010), report and recommen-
22           dation adopted, 2010 WL 5300881 (N.D. Cal. Dec. 20, 2010).
23       •   The operation of NSO’s exploit chain (Youssef Rep. ¶¶ 41–99, 157; Youssef Rebuttal
24           Rep. ¶¶ 27–67, 76–83, 101, 103.) Although the Court already found that NSO used the
25                                    to deliver spyware to target devices, the jury must understand how
26
         time to question Mr. Youssef on issues that relate solely to NSO’s liability. See id. at 2 (request-
27       ing more time to ask Mr. Youssef whether “Pegasus messages cause[d] the WhatsApp servers to
         execute code that those servers would not normally execute”). In all events, NSO lacks good
28       cause to extend Mr. Youssef’s deposition. Id. at 5–7.
                                                           6
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 1           NSO’s exploit chain operated, including the ways in which NSO circumvented Plaintiffs’
 2           technological barriers. The fact that NSO’s exploit chain worked according to NSO’s careful
 3           design and not by “mere accident” goes to the “reprehensibility” of NSO’s tortious conduct.
 4           State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 419 (2003).
 5       •   The capabilities of NSO’s malware (Youssef Rep. ¶¶ 28–31, 105–17, 121–25, 131–32, 158;
 6           Youssef Rebuttal Rep. ¶¶ 88–99.) The jury needs a thorough understanding of the scope of
 7           information that NSO’s spyware harvests, which includes private, encrypted messages, to
 8           determine whether and to what extent NSO should be punished for deploying that spyware.
 9           Courts have already recognized that “secretly record[ing] conversations” and “allow[ing]
10           third parties to eavesdrop” on conversations—two core functions of Pegasus—can support
11           punitive damages under California law. See, e.g., Heiting v. Container Store, Inc., 2024 WL
12           4289890, at *1, 3 (C.D. Cal. Sept. 25, 2024).
13       •   NSO’s efforts to avoid detection and conceal their malware from WhatsApp and the owners
14           of target devices (Youssef Rep. ¶¶ 126–30, 159.) NSO’s efforts to avoid detection and con-
15           ceal their malware are relevant to NSO’s “conscious disregard of the rights” of WhatsApp.
16           Simon v. San Paolo U.S. Holding Co., 113 P.3d 63, 75 (Cal. 2005). And California courts
17           have long recognized “secrecy and circumvention” as a sign of fraud. See Cioli v. Kenour-
18           gios, 211 P. 838, 842 (Cal. Ct. App. 1922) (describing how “indications of covered tracks and
19           studious concealments” evinces the intent to defraud).
20       •   The effect of NSO’s malware on WhatsApp’s servers (Youssef Rep. ¶¶ 100–04; Youssef
21           Rebuttal Rep. ¶¶ 84–87, 104.) The Court already found as a matter of law that NSO harmed
22           WhatsApp for purposes of the CFAA, but the jury must understand the extent of the harm to
23           WhatsApp’s servers in order to assess punitive damages. “[T]he actual or potential harm suf-
24           fered by the plaintiff” is key to the determination of punitive damages. Simon, 113 P.3d at
25           75.
26       •   NSO’s efforts to surmount additional technological barriers added by Plaintiffs (Youssef
27           Rep. ¶¶ 145–149, 156; Youssef Rebuttal Rep. ¶ 100.) The jury must understand exactly
28           what NSO did to evade additional technological hurdles imposed by Plaintiffs on the multiple
                                                           7
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 1           occasions where Plaintiffs deployed a fix, only for NSO to circumvent it. That NSO’s “con-
 2           duct involved repeated actions” and was not an “isolated incident” goes to, at least, the “de-
 3           gree of reprehensibility.” Simon, 113 P.3d at 75 (quoting State Farm, 538 U.S. at 419).
 4       •   The number of NSO’s targets (Youssef Rep. ¶¶ 118–20, 161.) The jury may properly con-
 5           sider both “potential harm” and “the possible harm to other victims” to levy punitive damages
 6           against NSO. TXO Prod. Corp. v. All. Res. Corp., 509 U.S. 443, 460 (1993) (emphasis in
 7           original). Understanding that NSO targeted at least 1,500 users in just a few weeks using a
 8           single installation vector, as Mr. Youssef will explain, underscores the breadth of NSO’s mis-
 9           conduct.
10       •   NSO’s reverse-engineering of WhatsApp software (Youssef Rep. ¶¶ 133–44, 160; Youssef
11           Rebuttal Rep. ¶¶ 68–75, 102.) The jury must understand the effort NSO took to reverse-
12           engineer Plaintiffs’ technology to create a WhatsApp-specific vector to fully understand the
13           scope of NSO’s unlawful hacking. A court in this district found “malice” to support an award
14           of punitive damages where the defendant “knowingly developed and marketed software with
15           the sole purpose of circumventing the security measures put in place by [the plaintiff].”
16           Craigslist, Inc., 2010 WL 5300883, at *14.
17       •   WhatsApp’s attractiveness as a target and NSO’s continued attempts to exploit Plaintiffs’
18           servers after May 2019 (Youssef Rep. ¶¶ 32–36, 150–55.) To determine the proper size of
19           an award to deter NSO’s unlawful activity, the jury must understand that NSO continued
20           hacking Plaintiffs even after the filing of this lawsuit. NSO’s “continued efforts” to hack
21           WhatsApp “after representing to [Plaintiffs] that [it] had stopped” demonstrates that NSO has
22           “acted reprehensibly.” Craigslist, Inc., 2010 WL 530083, at *14.
23           Punitive damages are for the jury to determine even after liability has been established. Be-
24 cause, as explained above, the technical details of NSO’s conduct bear directly on issues that courts

25 in the Ninth Circuit recognize as relevant to punitive damages under California law, Mr. Youssef’s

26 expert testimony is relevant and helpful to the jury in that determination.

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 1 II.       The Court Should Not Exclude Any of Mr. Youssef’s Opinions Under Rule 702 or
 2           Otherwise
 3           Mr. Youssef’s opinions are rooted in sound methodology and the evidence in the record, and
 4 they are consistent with the Court’s ruling granting Plaintiffs’ motion for summary judgment. The

 5 Court should deny NSO’s motion to exclude Mr. Youssef’s testimony, as his opinions satisfy Daub-

 6 ert and Rule 702. The opinions NSO challenges speak clearly to important factual issues for punitive

 7 damages: (1) the effects of Pegasus and                                   on Plaintiffs’ servers; (2) the ca-
 8 pabilities and purpose of the malware NSO forced through Plaintiffs’ servers; (3) the attractiveness

 9 of WhatsApp as a target for hackers and NSO’s relentlessness in attacking the platform; (4) the num-

10 ber of targets NSO attacked; and (5) NSO’s efforts to conceal its unlawful activities. NSO’s argu-

11 ments regarding the admissibility of Mr. Youssef’s opinions impermissibly seek to relitigate factual

12 and legal issues already settled by the Court. In addition, NSO’s objections to Mr. Youssef’s opin-

13 ions, and his methodology, go only to the weight of Mr. Youssef’s opinions and not their admissibil-

14 ity. “Vigorous cross-examination, presentation of contrary evidence, and careful instruction on the

15 burden of proof are the traditional and appropriate means” of attacking expert testimony that survives

16 Rule 702. 4 Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596 (1993)

17           A.      The Court Should Not Exclude Mr. Youssef’s Opinions Regarding the Impact of
18                   NSO’s Pegasus on Plaintiffs’ Servers
19           NSO first argues that the Court should preclude Mr. Youssef from invoking certain phrases
20 because they contradict the purportedly “uniform” evidence that “Pegasus used WhatsApp servers

21 only as a conduit through which to exchange messages with target devices, and Pegasus did not

22 damage WhatsApp’s servers or service in any way.” Dkt. No. 512 at 7–11. NSO’s arguments not

23
     4
         NSO’s fallback argument that Rule 403 somehow justifies exclusion of Mr. Youssef’s opinions
24       similarly fails. Rule 403 “requires a fact-specific, context-specific inquiry.” Sprint/United Mgmt.
         Co. v. Mendelsohn, 552 U.S. 379, 388 (2008). Rule 403 only contemplates the exclusion of
25       evidence “if its probative value is substantially outweighed” by the “danger of . . . unfair preju-
         dice, confusing the issues, [or] misleading the jury.” Fed. R. Evid. 403 (emphasis added). In the
26
         context of Rule 403, unfair prejudice “means an undue tendency to suggest decision on an im-
27       proper basis, commonly, though not necessarily, an emotional one.” Old Chief v. United States,
         519 U.S. 172, 180 (1997). When a fact goes to an essential aspect of the trial, however, “[t]here
28       is nothing unfair about admitting evidence of precisely that.” Sidibe v. Sutter Health, 103 F.4th
         675, 702 (9th Cir. 2024).
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 1 only ignore the Court’s ruling finding NSO liable, but also fail to meet the standard to exclude an

 2 expert’s testimony.

 3           First, the Court should not prohibit Mr. Youssef from offering opinions regarding whether
 4 NSO “altered,” “damaged,” or “deleted” data from WhatsApp servers and target devices. See

 5 Youssef Rep. ¶¶ 131–32. NSO argues that Mr. Youssef fails to identify any data that NSO altered,

 6 damaged, or deleted specifically from the WhatsApp servers, and that snippets of deposition testi-

 7 mony from Plaintiffs’ lay witnesses signal that Plaintiffs’ computers were not damaged. Dkt. No.

 8 512 at 8–9. Here, NSO mischaracterizes Mr. Youssef’s report and fails to acknowledge other con-

 9 siderations that support Mr. Youssef’s conclusion. For instance, Mr. Youssef describes how NSO’s

10 malware

11                                                           . Youssef Rep. ¶ 104. As a legal matter, the
12 existence of contrary evidence does not make an opinion “unsupported and not based on the facts of

13 the case.” Dkt. No. 512 at 9. Indeed, courts routinely deny Daubert motions premised on “facts that

14 [an expert] may not have considered in his analysis.” Plexxikon Inc. v. Novartis Pharms. Corp., 2021

15 WL 2340144, at *4 (N.D. Cal. June 8, 2021). Even taking NSO’s skewed view of the facts, a similar

16 analysis should govern here, and the Court should refuse to exclude Mr. Youssef’s opinions regarding

17 the impact of NSO’s Pegasus on Plaintiffs’ servers.

18           Mr. Youssef’s opinions are consistent with the Court’s findings on liability. NSO’s argu-
19 ments in support of exclusion, however, rely on an inconsistent reading of the record and the Court’s

20 ruling on summary judgment. For example, NSO insists that “[t]he evidence is uniform that Pega-

21 sus’s use of WhatsApp’s servers was innocuous,” despite the Court finding as a matter of law that

22 the activity was unlawful and caused harm to Plaintiffs. See, e.g., Dkt. No. 494 at 5–6, 9–10 (finding

23 NSO “caused harm” to Plaintiffs for purposes of the Calder test); id. at 12 (finding NSO liable on

24 Plaintiffs’ CFAA claim); id. at 15 (“[D]efendants do not dispute that [P]laintiffs incurred costs in-

25 vestigating and remediating defendants’ breaches.”).

26           Second, the Court should not prohibit Mr. Youssef from offering opinions regarding whether
27 NSO “compromised,” “hacked,” “exploited,” or “abused” WhatsApp’s servers. See Dkt. No. 512 at

28

                                                          10
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 1 9. Though NSO may not want the jury to hear those terms, it has no valid basis to exclude Mr.

 2 Youssef’s opinions that include them.

 3           Here too, NSO relies on the existence of supposedly contradictory evidence in the record.
 4 And while NSO acknowledges that Mr. Youssef may “mean something different” when he describes

 5 what it means to be “compromised,” NSO ignores that Mr. Youssef actually explained his analysis

 6 in his deposition. See Tr. at 201:3–17

 7

 8

 9

10                                                 To the extent that NSO finds Mr. Youssef’s statements
11 “difficult to reconcile” with Plaintiffs’ internal documents, Dkt. No. 512 at 9, that is only an oppor-

12 tunity for cross-examination, not grounds for exclusion.

13           Along the same lines, the Court should not exclude Mr. Youssef from using the term “hack”
14 to describe conduct the Court already ruled violated the CFAA and CDAFA. The CFAA is unques-

15 tionably an anti-hacking statute. The Supreme Court described the CFAA as Congress’s response to

16 “a series of highly publicized hackings” that “captured the public’s attention.” Van Buren v. United

17 States, 593 U.S. 374, 378 (2021) (emphasis added). The CFAA’s scope encompasses what hackers

18 do: “The statute is concerned with what a person does on a computer; it does not excuse hacking into

19 an electronic personnel file if the hacker could have walked down the hall to pick up a physical copy.”

20 Id. at 385–86 (emphases added). And the CFAA’s provisions form “a scheme ‘aimed at avoiding

21 the typical consequences of hacking.’” Id. at 376 (emphasis added). Even NSO acknowledged that

22 the CFAA makes “illegal hacking actionable” in its opposition to Plaintiffs’ motion for partial sum-

23 mary judgment. Dkt. No. 419-2 at 2. NSO recently proposed a voir dire question, to which Plaintiffs

24 did not agree, asking potential jurors whether they have been “hacked.” Dkt. No. 579 at 5 (“Have

25 you or someone close to you ever been hacked . . . ?”). Thus, it is not “untethered from the facts of

26 this case” for Mr. Youssef to refer to NSO’s conduct as “hacking” when the Court has already ruled

27 that NSO violated two anti-hacking statutes. Compare Dkt. No. 512 at 9, with Dkt. No. 494 at 12–

28 13. Nor can Mr. Youssef’s use of the term pose unfair prejudice to NSO when NSO itself intends to

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 1 voluntarily put the word “hacking” in the ears of the entire venire before Plaintiffs make their opening

 2 statement.

 3           All in all, to whatever extent NSO believes that Mr. Youssef’s characterizations differ from
 4 those of other witnesses, or particular documents, that is a matter for cross-examination at trial. NSO

 5 confronted many lay witnesses with the slideshow that NSO draws from heavily in its Daubert mo-

 6 tion, but the record remains unclear on who created that slide and what that person meant when they

 7 wrote it. See Block Decl. Ex. B (Gheorghe Dep. Tr.) at 171:23–25 (answering “[s]o I did not author

 8 these slides, especially not this one, so I cannot know what the author meant with this slide” when

 9 asked about another slide in the same slideshow); Block Decl. Ex. C (Robinson Dep. Tr.) at 206:24–

10 25 (“I don’t know if I recall or I recognize this specific presentation.”); Block Decl. Ex. D (Barcons

11 Dep. Tr.) at 116:15–16 (“‘Compromised’ may mean very different things.”); id. at 195:12–15 (“I

12 mean, perhaps – perhaps I was present, but I don’t recall being present on the preparation of this

13 deck. I think I would remember. I don’t think I was doing that.”); Block Decl. Ex. E (Wang Dep.

14 Tr.) at 139:24–140:11 (“I do not remember this. . . There are many presentations. I do not have

15 memory of this particular one.”).

16           In any event, Ninth Circuit precedent expressly holds that experts do not have to echo a party’s
17 lay witnesses in every respect, a proposition that should be obvious given that the purpose of expert

18 testimony is to “explain matters outside the expected knowledge of the average juror.” United States

19 v. Zarate-Morales, 377 Fed. App’x 696, 698 (9th Cir. 2010). In Elosu v. Middlefork Ranch Inc., 26

20 F.4th 1017 (9th Cir. 2022), the district court had excluded an expert opinion on the grounds that it

21 was “directly contradicted by multiple eye-witness accounts.” Id. at 1027. But the Ninth Circuit

22 reversed because the lower court’s “singular focus” on those perceived incompatibilities “misse[d]

23 the point of [the expert]’s hypothesis.” Id. The Court should reject NSO’s invitation to prohibit Mr.

24 Youssef from offering his expert testimony to the jury because of a perceived inconsistency with

25 snippets of Plaintiffs’ internal documents.

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 1           B.      Mr. Youssef’s Use of the Word “Spyware” Is Consistent with the Cybersecurity
 2                   Industry and the Court’s Order on Summary Judgment
 3           NSO’s argument that Mr. Youssef’s opinion that NSO’s malware is “spyware” is vague, un-
 4 reliable, or unfairly prejudicial falls apart for three reasons.

 5           First, Mr. Youssef explains clearly—in a paragraph NSO notably fails to cite anywhere in its
 6 motion—how he arrived at his opinion that Pegasus is “spyware.”

 7

 8

 9                                                        Youssef Rep. ¶ 7. NSO argues that Mr. Youssef
10 “appears to have simply made up” this analysis, Dkt. No. 512 at 12, but it closely mirrors common

11 dictionary definitions of “spyware.” Compare Youssef Rep. ¶ 7, with Spyware, Merriam-Webster,

12 https://www.merriam-webster.com/dictionary/spyware (“[S]oftware that is installed in a computer or

13 mobile device without the user’s knowledge and that transmits information about the user’s activi-

14 ties.”). The definition Mr. Youssef employs also comports with sources from across the cybersecu-

15 rity industry, including the sources NSO’s technical expert cites as authorities in the field, and gov-

16 ernmental standard-setters. 5

17           Second, the term “spyware” is both relevant and helpful to the jury because in simple terms
18 it describes and orients the jury as to what Pegasus and                                   do and why they
19 exist, issues that are integral to the question of punitive damages. Especially because Mr. Youssef

20 offers a reliable framework for his conclusion that NSO’s Pegasus is spyware, using this more famil-

21 iar label will undoubtedly help the jury and streamline the trial. See, e.g., Youssef Rep. ¶¶ 41–42

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     5
         See, e.g., Spyware, Nat’l Inst. Stds. Techs. Comput. Sec. Rsch. Ctr., https://csrc.nist.gov/glos-
24       sary/term/spyware; (defining “spyware” as “[s]oftware that is secretly or surreptitiously installed
25       onto an information system to gather information on individuals or organizations without their
         knowledge; a type of malicious code”); Spyware, OWASP, https://owasp.org/www-commu-
26       nity/attacks/Spyware (“Spyware is a program that captures statistical information from a user’s
         computer and sends it over [the] internet without user acceptance.”). NSO’s proposed technical
27       expert Mr. McGraw cites NIST six times and OWASP four times in his attempt to rebut Plaintiffs’
         experts, and Mr. Youssef’s definition of “spyware” mirrors the NIST and OWASP formulations.
28       See Dkt. No. 513-4 Ex. B (McGraw Rebuttal Rep.) ¶¶ 75, 78, 80, 110–14.
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 1                                                  ; id. ¶¶ 47–48
 2                           ; id. ¶ 60
 3                                                                                                     ; id. ¶ 84
 4                                                                                   ; id. ¶ 122
 5                                                                                                 . But the jury
 6 can more easily digest what it means to

 7                              and then make its decision on whether NSO’s mass deployment of such
 8 software is “reprehensible” or “fraudulent” to “a level which decent citizens should not have to tol-

 9 erate.” See id. ¶ 7; Food Pro Int’l, Inc. v. Farmers Ins. Exch., 89 Cal. Rptr. 3d 1, 16 (Cal. Ct. App.

10 2008) (quoting Am. Airlines, Inc. v. Sheppard, Mullin, Richter & Hampton, 117 Cal. Rptr. 2d 685,

11 710 (Cal. Ct. App. 2002)). The term “spyware,” therefore, has great probative value as an explana-

12 tory device for complicated technical concepts. In fact, this is precisely the kind of circumstance in

13 which expert testimony is helpful, because there are complicated, technical details that the jury must

14 understand in order to render its collective judgment on whether NSO’s “tortious conduct rises to

15 levels . . . which decent citizens should not have to tolerate.” Am. Airlines, Inc., 117 Cal. Rptr. 2d at

16 710.

17           Third, there is no “unfair prejudice” to NSO in the term “spyware.” There is no “prejudice”
18 in expert testimony that accurately applies industry terminology to facts the Court already found

19 established. See Dkt. No. 494. And although NSO challenges the word “spyware” as implying “that

20 NSO’s Pegasus software is inherently improper,” that is an issue the jury must decide in connection

21 with determining punitive damages. In short, Mr. Youssef’s opinion on “spyware” applies an indus-

22 try definition to the facts of the case as supported by the evidence and found by the Court. “Spyware”

23 explains what Pegasus and                                   do, and the jury can properly rely on the term
24 to determine punitive damages. The Court should not exclude Mr. Youssef’s opinion that Pegasus

25 is “spyware.”

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 1           C.      Mr. Youssef’s Opinions Regarding NSO’s Continued Attempts to Target
 2                   Plaintiffs Rest on a Reliable Methodology
 3           The Court should not exclude Mr. Youssef’s opinions regarding NSO’s continued actions
 4 following Plaintiffs’ remediations. See Dkt. No. 512 at 13–16. In this section of the Youssef Report,

 5 Mr. Youssef opines that NSO is                                                                       and that
 6                                    for NSO. Youssef Rep. ¶¶ 153, 155. Mr. Youssef puts these opinions
 7 forward by applying his cybersecurity expertise to the evidence in this case.

 8           NSO incorrectly describes Mr. Youssef’s expert opinion as an opinion “about NSO’s inten-
 9 tions.” Dkt. No. 512 at 13. The Youssef Report states that

10

11                                                                                                      Youssef
12 Rep. ¶ 154. As this assessment shows,

13                                                          . Id. ¶¶ 150–55. His opinion is consistent with
14

15                                                                                    . See, e.g., Dkt. No. 399-
16 4, Ex. 24, at 1                                                                                                 ;
17 id. Ex. 9, at 1–2

18                                                                                       In his deposition, Mr.
19 Youssef

20                                                                                                 Tr. at 157:9–
21 18. Mr. Youssef

22

23                                                      Tr. at 158:16–20.
24           Mr. Youssef can justifiably opine on technical matters so the jury can then draw its own
25 inferences about intent. The case law NSO cites proves the point. See Baldonado v. Wyeth, 2012

26 WL 1802066, at *8 (N.D. Ill. May 17, 2012) (citing DePaepe v. Gen. Motors Corp., 141 F.3d 715,

27 720 (7th Cir. 1998)). In DePaepe, the Seventh Circuit recognized that the jury can properly make

28 certain inferences from expert opinions even when the inferences themselves would not be the proper

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 1 subject for expert opinion, like a party’s subjective intent. See 141 F.3d at 720 (describing how “the

 2 expert “could give an opinion as an engineer that reducing the padding saved a particular amount of

 3 money” and that “he might testify as an engineer that [the defendant]’s explanation for the decision

 4 was not sound,” and from those two expert opinions “the jury might infer that money was the real

 5 reason” for the defendant’s design choice).

 6           In addition, and contrary to NSO’s argument, Mr. Youssef applied a reliable methodology to
 7 explain why WhatsApp remains an attractive target for hackers like NSO. See Youssef Rep. ¶ 155.

 8 As NSO recognizes, Mr. Youssef relied upon (1) NSO’s business model, (2) NSO’s response to

 9 WhatsApp code changes, and (3) the popularity of WhatsApp to reach his conclusion. See Dkt. No.

10 512 at 15. In its motion, NSO faults Mr. Youssef for not examining internal NSO strategy documents

11 that detail “NSO’s resources, NSO’s risk tolerance, NSO’s resource allocation strategy,” as well as

12 “costs associated with developing and maintaining different vectors, comparative market values of

13 different delivery vectors, demand from law enforcement and intelligence agencies, and so forth.”

14 Id. at 15. This criticism ignores that NSO refused to provide any of this information in discovery. In

15 all events, a “failure to consider” all possible alternatives does not render a “methodology unreliable

16 under Daubert.” Gutierrez v. Wells Fargo & Co., 2010 WL 1233810, at *12 (N.D. Cal. Mar. 26,

17 2010).

18           D.      Mr. Youssef’s Opinion Regarding the Number of Victims Finds Support in the
19                   Record
20           To the extent that NSO has a dispute with Mr. Youssef’s description of the 1,500 target de-
21 vices implicated in NSO’s attacks, see Dkt. No. 512 at 16–17, that does not provide a basis to exclude

22 Mr. Youssef from offering his opinions to the jury. The Youssef Report carefully described the

23 available evidence that shows how NSO interacted with the target devices. See Youssef Rep. ¶ 11

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25                id. ¶ 118
26

27                            id. ¶ 161
28                                                                                                   .
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 1           NSO admits that these 1,500 Target Devices all “received an initial Pegasus exploit message,”
 2 but quibbles with Mr. Youssef’s conclusion that they were “successfully exploited.” Dkt. No. 512 at

 3 16. For one, this ignores what the Court found in its order on summary judgment: that NSO obtained

 4 information “directly from the target users’ devices” in violation of the laws of the United States and

 5 California. Dkt. No. 494 at 12. Even NSO has acknowledged the obvious truth that its end-stage

 6 payload—the Pegasus spyware—was installed on Target Devices, using WhatsApp servers, via the

 7                             See Dkt. No. 604-2 at 17
 8                                                                                       Dkt. No. 399-4 Ex. 6
 9                       at 82:14–83:11
10

11                                                      Moreover, NSO could have asked Mr. Youssef about
12 the meaning of his terminology at his deposition and will have the opportunity to cross-examine Mr.

13 Youssef regarding his terminology at trial.

14           Any daylight between Mr. Youssef’s opinions and individual pieces of evidence is a question
15 of weight and not admissibility. If NSO wants to argue the significance of Mr. Youssef’s opinion,

16 the proper techniques are “vigorous cross-examination” or “the presentation of contrary evidence.”

17 Daubert, 509 U.S. at 596. An expert is not required to agree in all respects with every lay witness.

18 See Elosu, 26 F.4th at 1027 (finding error when the district court excluded an expert for purportedly

19 being “directly contradicted by multiple eye-witness accounts”). In fact, the expert’s ability to disa-

20 gree with lay witnesses is important because it allows the expert to apply independent judgment and

21 expertise. See, e.g., J.V. v. Pomona Unified Sch. Dist., 2017 WL 11636026, at *22 (C.D. Cal. May

22 2, 2017) (“An expert may not present testimony that merely ‘parrots’ the opinion of others, without

23 providing an independent evaluation of the evidence.”). 6

24

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     6
26       NSO also refused to produce information regarding its customers and Pegasus targets. Because
         NSO denied Plaintiffs (and by extension, Mr. Youssef) the opportunity to prove through discov-
27       ery the number of successful end-stage installations, the Court should reject NSO’s challenge to
         the basis of Mr. Youssef’s opinion on the number of targets when he relied on all the evidence
28       he could access.
                                                          17
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 1           E.      Mr. Youssef’s Opinions on “Camouflaging” of Pegasus Messages Rest on
 2                   Undisputed Facts and a Reliable Methodology
 3           Finally, NSO’s efforts to exclude Mr. Youssef from opining that NSO’s installation vectors
 4 “camouflaged” its malware should likewise be rejected. NSO claims that Mr. Youssef’s opinion is

 5 “nonsensical” and “confusing” because “[a]ll Pegasus messages complied with the technical rules

 6 imposed by WhatsApp servers.” Dkt. No. 512 at 17–18. But the Court has already rejected this

 7 argument. At the summary judgment stage, NSO attempted to avoid liability by claiming that Pega-

 8 sus messages “passed through the Whatsapp servers just like any other message would.” Dkt. No.

 9 494 at 11. The Court nonetheless found NSO liable. Id. at 12. While NSO disagrees with the Court’s

10 ruling, this disagreement provides no basis to exclude Mr. Youssef’s testimony.

11           Moreover, NSO’s focus on the term “camouflaging” ignores the context of Mr. Youssef’s
12 opinions. The opinion on “camouflaging” malware is one of Mr. Youssef’s several opinions address-

13 ing the                                                 See Youssef Rep. ¶¶ 126–30. These opinions ex-
14 plain how

15

16 Id. ¶ 126. These opinions rest on Mr. Youssef’s assessment of qualitative, objective characteristics

17 of the malicious messages NSO created with the WIS. The specific opinion on “camouflage” de-

18 scribes

19

20                                                                                   Id. ¶ 128. NSO’s
21

22                                                                                                 Id. That is a
23 reasonable assessment of objective indicia, and it is not “nonsensical or confusing” to anyone other

24 than NSO. The concept of “camouflage” is directly relevant to punitive damages, as it is proof that

25 the harm NSO caused “was the result of intentional malice, trickery, or deceit.” State Farm, 538

26 U.S. at 419.

27           NSO cites no case law supporting its position that the Court should bar Mr. Youssef from
28 describing NSO’s conduct with reference to “camouflage.” NSO cites a single out-of-circuit case

                                                          18
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 1 involving an expert who proffered an opinion the court viewed as “not so much testimony about

 2 industry custom or practice” as much as “the state of the law.” Primavera Familienstifung v. Askin,

 3 130 F. Supp. 2d 450, 529 (S.D.N.Y. 2001). Mr. Youssef’s opinion that NSO “camouflaged” malware

 4 is not an opinion on “the state of the law,” but an apt and substantively grounded description that the

 5 jury will understand.

 6                                               CONCLUSION
 7           For the foregoing reasons, Plaintiffs respectfully request that the Court deny NSO’s motion
 8 to exclude or limit the opinions of David Youssef.

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 1    Dated: March 20, 2025                           Respectfully Submitted,

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